         Case 22-80386-JJG-13   Doc 26 Filed 03/21/23 EOD 03/21/23 10:01:33     Pg 1 of 1
                                SO ORDERED: March 21, 2023.




                                ______________________________
                                Jeffrey J. Graham
                                United States Bankruptcy Judge

                          UNITED STATES BANKRUPTCY COURT                   SDISMISS (rev 06/2014)
                                Southern District of Indiana
                          101 NW Martin Luther King Jr Blvd Rm 352
                                   Evansville, IN 47708
In re:

James N Earehart,                                      Case No. 22−80386−JJG−13
           Debtor.

                                  ORDER DISMISSING CASE

An Order of the Court, dated February 16, 2023, required the debtor to file Amended
Schedules I and J, Objections to IDR and IRS proofs of claim and an Amended Plan.
The Court, after reviewing this case, finds that the debtor failed to comply with the Order.

IT IS ORDERED that this case is DISMISSED.

IT IS FURTHER ORDERED that the trustee is discharged from any duty as trustee in
this case.

To obtain relief from the dismissal order, a Motion for Relief from Judgment or Order,
pursuant to Fed.R.Bankr.P. 9024, must be filed. Any missing document from the time of
dismissal or a Motion for Extension of Time must be filed with the motion, or the motion
will be denied. If this case has been dismissed for failure to pay a filing fee or an
installment fee, the remaining balance of the filing fee must be paid with the filing of the
motion. Unpaid filing fees are still due and payable even though a case has been
dismissed. Cases are generally closed 30 days after dismissal.

Furthermore, if this case is closed when the Motion for Relief from Judgment or Order is
filed, a Motion to Reopen must also be filed. A reopening fee is due at the time of filing.
Currently, this fee is $235.00 but is subject to change. The latest fees can be found at
www.insb.uscourts.gov/webforms/newlaw/FeeSchedule.pdf.

The Clerk's Office will distribute this order.

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